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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


                                                    )
     THE TRUSTEES OF THE UNIVERSITY                 )
     OF PENNSYLVANIA,                               )
                     Plaintiff and Counter-         )
                     Defendant,                     )   C.A. No. 22-cv-145-JLH
                                                    )
          v.                                        )   JURY TRIAL DEMANDED
                                                    )
     GENENTECH, INC.,                               )
                                                    )
                     Defendant and Counter-
                     Claimant.



     STIPULATION AND [PROPOSED] ORDER REGARDING PRETRIAL SCHEDULE

         Whereas Plaintiff, the Trustees of the University of Pennsylvania (“Penn” or “Plaintiff”),

 and defendant, Genentech, Inc. (“Genentech” or “Defendant”) desire to enter a schedule for the

 parties’ exchanges for the pretrial order;

         Now, therefore, the parties stipulate and respectfully request that the Court set the

 following pretrial schedule1:




 1
   Genentech intends to ask the Court to schedule a two-day bench trial on equitable estoppel,
 implied license, and other equitable issues to take place prior to any jury trial. Genentech agrees
 to the following deadlines for the pretrial-order exchanges without prejudice to this future request.
 Penn does not waive its right to a jury trial under the Seventh Amendment and intends to oppose
 Genentech’s request.
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                              Event(s)                                 Proposed Date

  Plaintiff provides:                                                  February 10, 2025
        Draft of cover pleading for the Joint Proposed Pretrial       (LR 16.3(d)(1) –
         Order                                                         plaintiff to provide draft
                                                                       pre-trial order no less
        Ex. 1 – Draft of parties’ Joint Statement of Uncontested
                                                                       than 30 days before
         Facts
                                                                       filing)
        Ex. 2 – Plaintiff’s draft Statement of Contested Facts for
         issues on which Plaintiff bears the burden of proof
        Ex. 4 – Plaintiff’s draft Statement of Contested Issues of
         Law for issues on which Plaintiff bears the burden of
         proof
        Ex. 9 – Plaintiff’s Witness List
        Ex. 11 – Plaintiff’s Deposition Designations (in excel and
         in PDF with Plaintiff’s Designations in yellow editable
         highlighting)
        Ex. 15 - Plaintiff’s Brief Statement of Intended Proofs
  Defendant provides:
        Ex. 3 – Defendant’s draft Statement of Contested Facts
         for issues on which Defendant bears the burden of proof
        Ex. 5 – Defendant’s draft Statement of Contested Issues
         of Law for issues on which Defendant bears the burden of
         proof
        Ex. 10 – Defendant’s Witness List
        Ex. 12 – Defendant’s Deposition Designations (in excel
         and in PDF with Defendant’s Designations in blue
         editable highlighting)
        Ex. 16 – Defendant’s Brief Statement of Intended Proofs




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                                 Event(s)                               Proposed Date

  Plaintiff provides:                                                   February 14, 2025
         Ex. 7 – Plaintiff’s Trial Exhibit List (in excel format)
          (inclusive of affirmative and rebuttal exhibits) and
          unbranded electronic copies of the exhibits
         Draft preliminary jury instructions
         Draft final jury instructions
         Draft voir dire form
         Draft verdict form
  Defendant provides:
         Ex. 8 – Defendant’s Trial Exhibit List (in excel format)
          (inclusive of affirmative and rebuttal exhibits) and
          unbranded electronic copies of the exhibits


  Parties to file joint status report on settlement                     February 14, 2025
                                                                        (Set by Court. D.I. 303.)

  Plaintiff may supplement its Deposition Designations (Ex. 11) to      February 19, 2025
  add additional testimony relating to issues on which Defendant
  bears the burden of proof


  Defendant may supplement its Deposition Designations (Ex. 12)
  to add additional testimony relating to issues on which Plaintiff
  bears the burden of proof.




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                              Event(s)                                  Proposed Date

  Plaintiff provides:                                                   February 24, 2025
        Ex. 2 – Revisions to Plaintiff’s Statement of Contested        (LR 16.3(d)(2) –
         Facts (responsive to Defendant’s Statement of Contested        defendant to provide
         Facts for issues on which Defendant bears the burden)          response to draft pretrial
                                                                        order no less than 14
        Ex. 4 – Revisions to Plaintiff’s Statement of Contested
                                                                        days before filing)
         Issues of Law (responsive to Defendant’s Statement of
         Contested Issues of Law for issues on which Defendant
         bears the burden)
        Ex. 8 – Plaintiff’s objections to Defendant’s exhibits (in
         excel)
        Ex. 10 – Plaintiff’s objections to Defendant’s Witness
         List
        Ex. 15 - Revisions to Plaintiff’s Brief Statement of
         Intended Proofs (responsive to Defendant’s Brief
         Statement of Intended Proofs)
        Topics for motions in limine
  Defendant provides:
        Revisions to the cover pleading for Joint Proposed Pretrial
         Order
        Ex. 1 – Revisions to Parties’ Joint Statement of
         Uncontested Facts
        Ex. 3 – Revisions to Defendant’s Statement of Contested
         Facts (responsive to Plaintiff’s Statement of Contested
         Issues of Fact for issues on which Plaintiff bears the
         burden)
        Ex. 5 – Revisions to Defendant’s Statement of Contested
         Issues of Law (responsive to Plaintiff’s Statement of
         Contested Issues of Law for issues on which Plaintiff
         bears the burden)
        Ex. 7 – Defendant’s objections to Plaintiff’s exhibits (in
         excel)
        Ex. 9 – Defendant’s objections to Plaintiff’s Witness List
        Ex. 16 - Revisions to Defendant’s Brief Statement of
         Intended Proofs (responsive to Plaintiff’s Brief Statement
         of Intended Proofs)
        Topics for motions in limine


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                               Event(s)                                 Proposed Date

  Meet and confer regarding appropriate scope of testimony for          February 27, 2025
  expert witnesses Mssrs. Johnson, Troy, and Hrubiec; topics for        (LR 16.3(d)(3) – parties
  motions in limine; exhibit lists; witness lists; and, other issues    shall meet and confer
  regarding Joint Pretrial Order                                        after exchanges)

  Plaintiff provides:                                                   March 3, 2025
        Ex. 6 – Joint Trial Exhibit List (in excel format) and
         copies of stamped exhibits (whereby each page is
         endorsed with the exhibit number and the page number—
         e.g., JTX0001.001)
        Ex. 7 – Copies of stamped Plaintiff’s exhibits (whereby
         each page is endorsed with the exhibit number and the
         page number—e.g., PTX0001.001)
        Ex. 12 – Plaintiff’s objections and counter-designations to
         Defendant’s Deposition Designations (in excel and in
         PDF with Plaintiff’s Counter Designations in orange
         editable highlighting)
        Ex. 13 – Motion(s) in limine. Each side is limited to three
         motions in limine. (D.I. 184 at ¶ 12). Each motion in
         limine may be supported by a maximum of three (3) pages
         of argument. (D.I. 184 at ¶ 12).
        Draft status letter on appropriate scope of testimony for
         expert witnesses Mssrs. Johnson, Troy, and Hrubiec, with
         any remaining disputes regarding the testimony of those
         experts in no more than 5 pages, single spaced. (D.I. 303.)
  Defendant provides:
        Ex. 8 – Copies of stamped Defendant’s exhibits (whereby
         each page is endorsed with the exhibit number and the
         page number—e.g., DTX0001.001)
        Ex. 11 – Defendant’s objections and counter-designations
         to Plaintiff’s Deposition Designations (in excel and in pdf
         with Defendant's counter designations in green editable
         highlighting)
        Ex. 14 –Motion(s) in limine. Each side is limited to three
         motions in limine. (D.I. 184 at ¶ 12). Each motion in
         limine may be supported by a maximum of three (3) pages
         of argument. (D.I. 184 at ¶ 12).




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                               Event(s)                                 Proposed Date

  Defendant provides:                                                   March 5, 2025
        Response to Plaintiff’s draft preliminary jury instructions
        Response to Plaintiff’s draft final jury instructions
        Response to Plaintiff’s draft voir dire form
        Response to Plaintiff’s draft verdict form

  Plaintiff provides:                                                   March 10, 2025
        Ex. 14 – Responsive brief(s) to motion(s) in limine. Each
         motion in limine may be opposed by a maximum of three
         (3) pages of argument. (D.I. 184 at ¶ 12).
        Ex. 17 – Plaintiff provides its list of additional
         miscellaneous issues regarding the joint pretrial order
  Defendant provides:
        Ex. 13 – Responsive brief(s) to motion(s) in limine. Each
         motion in limine may be opposed by a maximum of three
         (3) pages of argument (D.I. 184 at ¶ 12).
        Ex. 18 – Defendant provides its list of additional
         miscellaneous issues regarding the joint pretrial order
        Response to draft status letter on appropriate scope of
         testimony for expert witnesses Mssrs. Johnson, Troy, and
         Hrubiec, with any remaining disputes regarding the
         testimony of those experts in no more than 5 pages, single
         spaced. (D.I. 303.)




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                               Event(s)                                 Proposed Date

  Plaintiff provides:                                                   March 14, 2025
        Ex. 11 – Plaintiff’s objections to counter-designations and
         counter-counter-designations (in excel and in PDF with
         Plaintiff’s counter-counter designations in pink editable
         highlighting).
        Ex. 13 – Reply brief(s) to motion(s) in limine. Reply
         briefs in support of a motion in limine may be a maximum
         of one (1) page of argument. (D.I. 184 at ¶ 12)
        Reply to Defendant’s edits to draft preliminary jury
         instructions
        Reply to Defendant’s edits to draft final jury instructions
        Reply to Defendant’s edits to draft voir dire form
        Reply to Defendant’s edits to draft verdict form
  Defendant provides:
        Ex. 12 – Defendant’s objections to counter-designations
         and counter-counter designations (in excel and in pdf with
         Defendant's counter designations in purple editable
         highlighting)
        Ex. 14 – Reply brief(s) to motion(s) in limine. Reply
         briefs in support of a motion in limine may be a maximum
         of one (1) page of argument. (D.I. 184 at ¶ 12)

  Meet and confer on any outstanding issues.                            March 14, 2025

  File Joint Proposed Pretrial Order, Jury Materials, and Joint         March 17, 2025
  Status Letter                                                         (Previously set by Court
                                                                        and unchanged. D.I 184
                                                                        at 10; D.I. 200); D.I.
                                                                        303; see also LR
                                                                        16.3(d)(4).)


  Pretrial Conference                                                   March 24, 2025
                                                                        (Previously set by Court
                                                                        and unchanged. D.I.
                                                                        184 at 10; D.I. 200.)




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 All service and exchange deadlines are 8pm ET unless otherwise noted.

 For reference, the Exhibits (“Ex.”) that would accompany the Joint Proposed Pretrial Order and
 are mentioned above include:

     Exhibit No.                                         Description
  Exhibit 1             Joint Statement of Uncontested Facts
  Exhibit 2             Plaintiff’s Statement of Contested Facts
  Exhibit 3             Defendant’s Statement of Contested Facts
  Exhibit 4             Plaintiff’s Statement of Contested Issues of Law
  Exhibit 5             Defendant’s Statement of Contested Issues of Law
  Exhibit 6             Joint Trial Exhibit List (JTX)
  Exhibit 7             Plaintiff’s Trial Exhibit List (PTX) (with Defendant’s objections)
  Exhibit 8             Defendant’s Trial Exhibit List (DTX) (with Plaintiff’s objections)
  Exhibit 9             Plaintiff’s Witness List (including Defendant’s objections)
  Exhibit 10            Defendant’s Witness List (including Plaintiff’s objections)
  Exhibit 11            Plaintiff’s Deposition Designations (including Defendant’s objections
                        and counter-designations and Plaintiff’s objections to counter-
                        designations and counter-counter-designations)
  Exhibit 12            Defendant’s Deposition Designations (including Plaintiff’s objections
                        and counter-designations and Defendant’s objections to counter-
                        designations and counter-counter-designations)
  Exhibit 13A           Plaintiff’s Motion in Limine No. 1 (including Defendant’s opposition
                        and Plaintiff’s reply)
  Exhibit 13B           Plaintiff’s Motion in Limine No. 2 (including Defendant’s opposition
                        and Plaintiff’s reply)
  Exhibit 13C           Plaintiff’s Motion in Limine No. 3 (including Defendant’s opposition
                        and Plaintiff’s reply)
  Exhibit 14A           Defendant’s Motion in Limine No. 1 (including Plaintiff’s opposition
                        and Defendant’s reply)
  Exhibit 14B           Defendant’s Motion in Limine No. 2 (including Plaintiff’s opposition
                        and Defendant’s reply)
  Exhibit 14C           Defendant’s Motion in Limine No. 3 (including Plaintiff’s opposition
                        and Defendant’s reply)
  Exhibit 15            Plaintiff’s Brief Statement of Intended Proofs
  Exhibit 16            Defendant’s Brief Statement of Intended Proofs
  Exhibit 17            Plaintiff’s list of additional miscellaneous issues regarding the joint
                        pretrial order
  Exhibit 18            Defendant’s list of additional miscellaneous issues regarding the joint
                        pretrial order




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 Dated: February 10, 2025                      Respectfully submitted,

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                                               Attorneys for Defendant Genentech, Inc.




 SO ORDERED this 10
                 ___th
                       day of February 2025.



                                                  ____________________________________
                                                  The Honorable Jennifer L. Hall
                                                  United States District Judge




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